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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                    §          MDL NO. 1873
FORMALDEHYDE                           §
PRODUCT LIABILITY LITIGATION           §          SECTION “N-5”
                                       §          JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:           §
                                       §
Jacob Watson, et al v.                 §
Gulf Stream Coach, Inc., et al         §          MAG. JUDGE CHASEZ
Civil Action No. 09-4700               §

                ORDER ON PLAINTIFF THOMAS WILLIAMS’ NOTICE
               OF VOLUNTARY DISMISSAL UNDER FRCP 41(a)(1)(A)(i)

      Considering the foregoing motion,

      IT IS HEREBY ORDERED that Plaintiff THOMAS WILLIAMS’ Notice of Voluntary

Dismissal is hereby, and in all things GRANTED.

      New Orleans, Louisiana, this ____ day of ____________________, 2010.




                                       _____________________________
                                       HONORABLE KURT ENGELHARDT
